   Case 3:20-cv-00079-MHT-CSC Document 14 Filed 04/21/20 Page 1 of 1



  IN THE DISTRICT COURT OF THE UNITED STATES FOR THE

      MIDDLE DISTRICT OF ALABAMA, EASTERN DIVISION


STEPHEN HOWARD,                    )
                                   )
     Petitioner,                   )
                                   )         CIVIL ACTION NO.
     v.                            )           3:20cv79-MHT
                                   )               (WO)
UNITED STATES OF AMERICA,          )
                                   )
     Respondent.                   )

                                ORDER

    It     is    ORDERED   that    petitioner's       motion    for    a

certificate of appealability (doc. no. 9) is denied.

    A certificate of appealability is not needed when

an appeal is from a dismissal of a 28 U.S.C. § 2255

petition    as     an   unauthorized      second     or    successive

filing. See Hubbard v. Campbell, 379 F.3d 1245, 1247

(11th Cir. 2004).

    DONE, this the 21st day of April, 2020.

                                     /s/ Myron H. Thompson
                                  UNITED STATES DISTRICT JUDGE
